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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,
                                                        Criminal No. 09-109 (JNE/JJK)
                     Plaintiff,
v.                                                      SECOND PRELIMINARY ORDER
                                                        OF FORFEITURE
JUAN FIDEL ALEMAN (3),

                     Defendant.

       Based on the United States’ motion for a Second Preliminary Order of Forfeiture; on

the Plea Agreement entered into between the United States and Defendant Juan Fidel

Aleman; on the Court having found that certain property is subject to forfeiture pursuant to

18 U.S.C. § 853(a)(1) and (2); and on the Court’s determination that, based on the Plea

Agreement entered into by the Defendant and all of the files and records of this proceeding,

the government has established the requisite nexus between the property and the offense to

which the Defendant has pled guilty,

       IT IS HEREBY ORDERED that:

       1.     the Ruger Model P93DAO 9mm handgun, serial number 306-12053 is forfeited

to the United States pursuant to 21 U.S.C. § 853(a)(1) and (2);

       2.     the Attorney General or his authorized designee may seize the above property

and maintain custody and control of the property pending the entry of a Final Order of

Forfeiture;

       3.     the United States will, pursuant to 21 U.S.C. § 853(n)(1), publish and give

notice of this Order and its intent to dispose of the above property in such manner as the

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Attorney General may direct;

       4.     pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this Preliminary Order of

Forfeiture will become final as to the Defendant at the time of sentencing, and will be made

a part of the sentence and included in the judgment;

       5.     following the Court’s disposition of all petitions filed pursuant to 21 U.S.C. §

853(n)(2) or, if no petitions are filed, following the expiration of the time period specified

within which to file such petitions, the United States will have clear title to the above

property and may warrant good title to any subsequent purchaser or transferee; and

       6.     this Court will retain jurisdiction to enforce this Order, and to amend it as

necessary pursuant to Fed. R. Crim. P. 32.2(e).

Dated: 6-16-2011                           s/ Joan N. Ericksen
                                           JOAN N. ERICKSEN, Judge
                                           United States District Court




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